      Case 5:20-cv-00746-JKP-HJB Document 74 Filed 05/26/22 Page 1 of 7




                    UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF TEXAS
                            SAN ANTONIO
______________________________________

MELODY JOY CANTU AND DR. RODRIGO                  5:20-CV-0746 JKP – HJB
CANTU,

Plaintiffs,

v.

DR. SANDRA GUERRA and DIGITAL
FORENSICS CORPORATION, LLC,

Defendants.


______________________________________




PLAINTIFFS’ OPPOSITION TO CO-DEFENDANT DR. GUERRA’S MOTION
     TO ENFORCE SCHEDULING ORDER AND FOR SANCTIONS
       Case 5:20-cv-00746-JKP-HJB Document 74 Filed 05/26/22 Page 2 of 7




                       Plaintiff’s Opposition to Co-Defendant’s Motion to Compel


       Co-Defendant Dr. Sandra Guerra’s (“Dr. Guerra”) motion seeks to compel Plaintiffs

Melody Joy Cantu and Rodrigo David Cantu (“the Cantus”) to repeat mediation. The Cantus

disagree with Co-Defendant Dr. Guerra’s enforcement of the court order at Dkt No. 68. The

Cantu’s never opposed the order, as mediation with Dr. Guerra was completed on August 20,

2021, followed by a joint filing to the Court stating that the parties do not plan to mediate any

further. The Court should deny Dr. Guerra's motion.


       I.       Factual Background


       On March 25, 2021, in compliance with Local Rule CV-88(b), parties filed a “Joint

Alternative Dispute Resolution Status Report.”1 In it, the parties state they have agreed to

mediate this matter with a specific mediator, Don Philbin. On August 20, 2021, Co-Defendant

Dr. Guerra and the Cantus participated in an unfruitful mediation with Mr. Philbin and,

following said mediation, filed a “Joint Advisory to the Court.”2 According to the Joint

Advisory, the Cantus participated in a mediation with Dr. Guerra and could not come to an

agreement. Parties agreed they had no intent to continue mediation.3




       1
         (Joint ADR Status Report) (Dkt. No. 44.)
       2
         (Joint Advisory to the Court) Dkt. No. 60.)
       3
         Id at ¶ 3.
                                                       1
       Case 5:20-cv-00746-JKP-HJB Document 74 Filed 05/26/22 Page 3 of 7




       In the same “Joint Advisory to the Court”, the Cantus and Dr. Guerra state Co- Defendant

Digital Forensics Corporation, LLC’s (“DFC”) counsel of record withdrew two weeks prior to

the mediation between the Cantus and Dr. Guerra. Therefore, DFC did not participate in the

mediation.


       On May 6, 2022, Dr. Guerra’s counsel reached out to request repeat mediation, this time

with DFC as a party to the mediation. On August 20, 2021, the Cantus mediated with Dr. Guerra.

Concerned with spending time, money, and their emotional well-being on another mediation

attempt with Dr. Guerra, we reached out to Dr. Guerra’s counsel regarding dates for mediation

and depositions. In addition, the Cantus requested we find out what has changed from the last

mediation, that compelled Dr. Guerra and her counsel to request we go down that beaten path.

The Cantus were open to the possibility of repeat mediation if Dr. Guerra provided good cause.


       Dr. Guerra’s counsel refused to provide a reason for requesting repeat mediation and

insisted that there is a court order that we are violating. Dr. Guerra’s motion cites Dkt. No. 70,

“The Scheduling Order,” states:


       “The Parties must complete the agreed mediation or other ADR proceedings by June 29,

2022. At the conclusion of any ADR proceeding, a report must be filed with the Court.”




                                                  2
        Case 5:20-cv-00746-JKP-HJB Document 74 Filed 05/26/22 Page 4 of 7




        This order is in place to make sure all alternative dispute resolutions be completed by a

specific date and is not a requirement to repeat costly and fruitless ADRs. Per our records and the

“Joint Advisory to the Court”, the Cantus have fulfilled said obligation with Dr. Guerra.4


        Our firm is in communication with DFC’s counsel and has offered them the option of

mediation.


        II.      Argument


        The right to a jury trial is a fundamental common-law right preserved by the Framers of

the Constitution.5 In order to prevent the U.S. history with the British courts, the Seventh

Amendment was instituted as a safeguard to prevent forced trials by non-jury tribunals. While

alternative dispute resolution does not violate the Seventh Amendment, required participation in

mediation before being allowed to seek a jury trial is a precondition that effectively strips away

rights to a jury trial, specifically burdening the parties with costs for the mediation and attorney’s

fees.


        As counsel to the Cantus, our firm is not interested in churning hours and suggesting our

clients go through additional, emotionally trying, and costly mediation for no good cause.




        4
          (Joint Advisory to the Court) Dkt. No. 60.)
        5
          See U.S. CONST. amend. VII (“In Suits at common law, where the value in controversy shall exceed
twenty dollars, the right of trial by jury shall be preserved…”).
                                                       3
         Case 5:20-cv-00746-JKP-HJB Document 74 Filed 05/26/22 Page 5 of 7




         We've complied with the Court’s straightforward standing order and local rules. Per

Local Rule CV-88, parties are allowed to request relief from ADR.6 In another matter, this Court

stated the following in regard to Local Rule CV-88:


                   The Court's local rules provide that "[t]he court may refer a case to
                   ADR on the motion of a party, on the agreement of the parties, or on
                   its own motion. . . ." Local Rule CV-88(c). If a case is referred to
                   ADR, a party has the right to object and "may obtain relief from an
                   order upon a showing of good cause." Id. at 88(g); Andre v. Allstate
                   Texas Lloyd's, 2016 U.S. Dist. LEXIS 189821, 2016 WL 9414129,
                   at *3 (W.D. Tex. Oct. 14, 2016). But, as Judge Yeakel has noted in
                   a very similar case, under the applicable statute a party "is required
                   to consider use of an alternative dispute resolution procedure but is
                   not obliged to consent to one." Dkt. No. 24, Farrington v. Infowars,
                   LLC, No. 1:20-cv-332 LY (Oct. 22, 2020) at 2.7

         Dr. Guerra seeks a remedy where she has no right.


                                                 Conclusion


         This Court should deny Dr. Guerra’s Motion to Enforce Scheduling Order and Request

for Sanctions because the Cantu's and Dr. Guerra have mediated and stated so in a joint filing

with the Court. Furthermore, Dr. Guerra has no legal right to compel mediation.




         6
             See Local Rule CV-88(g).
         7
             Mustard v. Infowars, LLC, No. A-20-CV-0485-RP, 2020 U.S. Dist. LEXIS 200258 (W.D. Tex. Oct. 27,
2020).
                                                        4
Case 5:20-cv-00746-JKP-HJB Document 74 Filed 05/26/22 Page 6 of 7




Dated: May 26, 2022                         Stipulated and respectfully submitted,

                                            /s/ Tor Ekeland

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       Case 5:20-cv-00746-JKP-HJB Document 74 Filed 05/26/22 Page 7 of 7




                                       Certificate of Service

I certify that on this 26th of May 2022, a true and correct copy of the foregoing was electronically

filed with the Clerk of the Court using the CM/ECF system which will send electronic

notification of such filing to the parties on record.


                                                                             /s/ Tor Ekeland




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